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                                    8
                                        Attorneys for Secured Creditor Hi Bar Capital LLC;
                                    9   and Azzure Capital LLC
                                   10
                                                                UNITED STATES BANKRUPTCY COURT
                                   11
                                                                    CENTRAL DISTRICT OF CALIFORNIA
BRYAN CAVE LEIGHTON PAISNER LLP

  SANTA MONICA, CA 90401-2386




                                   12
    120 BROADWAY, SUITE 300




                                                                           SANTA ANA DIVISION
                                   13
                                         In re:                                         Case No.: 8:23-bk-10571-SC
                                   14
                                         The Litigation Practice Group P.C.,            Hon. Scott C. Clarkson
                                   15
                                                               Debtor.                  Chapter 11 case
                                   16
                                                                                        NOTICE OF APPEARANCE PURSUANT
                                   17                                                   TO FED. R. BANK. P. 9010(B),
                                                                                        REQUEST FOR ALL COPIES
                                   18                                                   PURSUANT TO FED. R. BANKR. P.
                                                                                        2002, AND REQUEST FOR ALL
                                   19                                                   PLEADINGS PURSUANT TO FED. R.
                                                                                        BANKR. P. 3017(A)
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                                    1          Secured Creditor Hi Bar Capital LLC (“Hi Bar”) along with Azzure Capital LLC
                                    2   (“Azzure”), through their undersigned counsel, request that all notices given or required to be
                                    3   given and all papers served or required to be served by U.S. Mail and by email in the above-
                                    4   captioned case be given to and served upon:
                                    5                                              Sharon Weiss
                                                                         Bryan Cave Leighton Paisner LLP
                                    6                                        120 Broadway, Suite 300
                                                                          Santa Monica, CA 90401-2386
                                    7                                       sharon.weiss@bclplaw.com
                                    8                                                  - and -
                                                                                   Olivia J. Scott
                                    9                                      1920 Main Street, Suite 1000
                                                                              Irvine, CA 92614-7276
                                   10                                       olivia.scott3@bclplaw.com
                                   11          This request encompasses all notices, copies and pleadings referred to in section 1109(b)
BRYAN CAVE LEIGHTON PAISNER LLP

  SANTA MONICA, CA 90401-2386




                                   12   of Title 11, United States Code or in rules 2002, 3017, or 9007 of the Federal Rules of
    120 BROADWAY, SUITE 300




                                   13   Bankruptcy Procedure (the “Bankruptcy Rules”), including, without limitation, any and all
                                   14   notices of any orders, motions, demands, complaints, petitions, pleadings, plans of reorganization,
                                   15   disclosure statements, requests, or applications, and any other documents brought before this
                                   16   Court in these cases, whether formal or informal, written or oral, or transmitted or conveyed by
                                   17   mail, hand delivery, delivery service, email, telephone, fax, telex, or otherwise which affect or
                                   18   seek to affect these cases.
                                   19          This Notice of Appearance and Request for Notices is not, and shall not be deemed or
                                   20   construed to be, a waiver of any of Hi Bar’s and/or Azzure’s substantive or procedural rights,
                                   21   including without limitation, Hi Bar’s and/or Azzure’s rights: (i) to have final orders in noncore
                                   22   matters entered only after de novo review by a United States district judge; (ii) to trial by jury in
                                   23   any proceedings so triable in these cases or in any case, controversy, or proceeding related to
                                   24   these cases; (iii) to have a District Court withdraw the reference in any matter subject to
                                   25   mandatory or discretionary withdrawal; (iv) to contest jurisdiction or venue in these cases or in
                                   26   any case, controversy, or proceeding related to these cases; (v) to have documents served in
                                   27   accordance with Bankruptcy rule 7004 and rule 4 of the Federal Rules of Civil Procedure; or (vi)
                                   28   to any rights, claims, actions, defenses, setoffs, or recoupments to which Hi Bar and/or Azzure is
                                                                                           1
                                                                              NOTICE OF APPEARANCE
                                        USA.607525287.1/03U
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                                    1   or may be entitled, under any agreements, in law, in equity, or otherwise, all of which rights,
                                    2   claims, actions, defenses, setoffs, and recoupments are expressly reserved.
                                    3   Dated: June 20, 2023                  BRYAN CAVE LEIGHTON PAISNER LLP
                                    4
                                                                                      By: /s/ Olivia J. Scott
                                    5                                                        Olivia J. Scott
                                                                                      Attorneys for Secured Creditor Hi Bar Capital LLC;
                                    6                                                 and Azzure Capital LLC
                                    7

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BRYAN CAVE LEIGHTON PAISNER LLP

  SANTA MONICA, CA 90401-2386




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    120 BROADWAY, SUITE 300




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Bryan Cave Leighton Paisner LLP, 120 Broadway, Suite 300, Santa Monica, CA 90401-2386.
A true and correct copy of the foregoing document entitled: NOTICE OF APPEARANCE PURSUANT TO FED. R. BANK.
P. 9010(B), REQUEST FOR ALL COPIES PURSUANT TO FED. R. BANKR. P. 2002, AND REQUEST FOR ALL
PLEADINGS PURSUANT TO FED. R. BANKR. P. 3017(A) will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 20,
2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    Richard A Marshack (TR)
     pkraus@marshackhays.com, rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On June 20, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Grobstein Teeple LLP
Grobstein Teeple LLP
23832 Rockfield Blvd suite 245
Lake Forest, CA 92630

Jason Patterson Stopnitzky
52 Cupertino Circle
Aliso Viejo, CA 92656

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on , I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

June 20, 2023                  Raul Morales                                                    /s/ Raul Morales
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1.        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

         Eric Bensamochan
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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        Andrew Still
         astill@swlaw.com, kcollins@swlaw.com
        United States Trustee (SA)
         ustpregion16.sa.ecf@usdoj.gov
        Johnny White
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
